      Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 1 of 16



                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                                   LAREDO


 UNITED STATES OF AMERICA,               )
                                         )
          Plaintiff,                     )       Criminal Action No.
                                         )         5:11-CR-11-S-02
 v.                                      )   (Civil Action No. 12-CV-78)
                                         )
 GUADALUPE SALAZAR TOVAR,                )
                                         )
          Defendant.                     )   MEMORANDUM OPINION & ORDER



                           **    **    **    **    **



        Defendant Guadalupe Salazar-Tovar (“Salazar-Tovar”) having

filed a timely motion to vacate sentence pursuant to 28 U.S.C. §

2255.      The government having filed a response to the same,and

the Court being advised,

        IT IS ORDERED that Salazar-Tovar’s motion be, and the same

hereby is, DENIED for the reasons which follow.

                                      I.
                                 JURISDICTION

        Salazar-Tovar seeks § 2255 relief from the amended judgment

of conviction and sentence imposed by the district court on May

26, 2011 (D.E. 76 (Hood, V.J.)).

                                       II.

                            STATEMENT OF THE CASE

A. Course of Proceedings and Disposition
      Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 2 of 16



        On January 19, 2011, Salazar-Tovar and Eliu Rivera-Mendez

were charged by a federal grand jury in the Laredo Division of

the    Southern    District      of   Texas,   in    a    six   count    superseding

indictment,       with    illegal     possession     of     a      machine   gun,    in

violation of 18 U.S.C. §§ 922(o) and 924(a)(2) (count one);

possession of firearms by an alien illegally and unlawfully in

the United States, in violation of 18 U.S.C. §§ 922(g)(5)(A),

924(a)(2) (count two); smuggling goods from the United States,

in violation of 18 U.S.C. §§ 554 and 2 (count three); conspiracy

to smuggle goods from the United States, in violation of 18

U.S.C. §§ 554, 371, 2, (count four); attempt to export hand

grenades from the United States, in violation of 18 U.S.C.                            §

554    (count    five);    and   conspiracy     to       smuggle    goods    from   the

United States, in violation of 18 U.S.C. §§ 554, 371 and 2

(count six).

        On March 14, 2010, pursuant to a plea agreement with the

government, Salazar-Tovar entered a plea of guilty to count five

of the indictment (D.E. 49, 51, 52, 57). As part of the plea

agreement, Salazar-Tovar agreed to waive his right to appeal the

sentence and to collaterally attack his conviction and sentence,

including filing a § 2255 Motion (D.E. 51).

        On May 26, 2011, the undersigned sentenced Salazar-Tovar to

serve 46 months of imprisonment, followed by three years of

supervised release.(D.E. 76).             Consistent with his obligations
      Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 3 of 16



in the plea agreement, Salazar-Tovar did not appeal. See D.E. 75

(Notice of Non-Appeal). Inconsistent with his plea agreement, he

filed the instant § 2255 motion on May 18, 2012 (D.E. 85).

  B. Statement of Facts Underlying the Conviction and Sentence

        1. Offense conduct.

The     plea    agreement     Salazar-Tovar      entered    into    with       the

Government      contained   the   following    “Factual    Basis   for   Guilty

Plea”:

        15. Defendant is pleading guilty because he/she is
        guilty of the charges contained in COUNT FIVE of the
        Superseding Indictment, and the facts set forth by the
        United States meet the elements of the crime he/she is
        pleading guilty to on this date. If this case were to
        proceed to trial, the United States could prove each
        element of the offense beyond a reasonable doubt. The
        following facts, among others, would be offered to
        establish the defendant’s guilt:

             On November 30, 2010, a confidential informant
        (hereinafter “CI”) advised agents with the United
        States [B]ureau of Alcohol, Tobacco, [F]irearms and
        Explosives (ATFE) that defendant ELIU RIVERAMENDEZ
        (hereinafter “RIVERA”) had contacted the CI to tell
        him that “Lupe”, later identified as defendant
        GUADALUPE SALAZAR-TOVAR (hereinafter SALAZAR), was
        interested in buying weapons. On the same day, the CI
        placed a consensually monitored phone call to “Lupe”
        who   advised  undercover   agents  (hereinafter  UA),
        believing them to be illegal weapon suppliers, that he
        wanted to purchase Machine guns and hand grenades.
        Defendant SALAZAR placed a tentative order for eight
        (8) machine guns and twenty (20) hand grenades,
        pending his confirming with the “actual buyers.”

             On December 2, 2010, Defendant SALAZAR confirmed
        the prior order for the weapons and agreed on a price
        of $10,400 (US). UA advised that they had thirty (30)
        hand grenades to sell if SALAZAR wanted to purchase
        instead of only the original twenty (20) hand
Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 4 of 16



  grenades. SALAZAR stated he would talk to the buyers
  to recommend buying the additional grenades. SALAZAR
  told UA that the weapons were to be crossed into
  Mexico.

       On December 6, 2010, Defendant SALAZAR again
  confirmed the original purchase of eight (8) machine
  guns and twenty (20) hand grenades. On December 7,
  2010, undercover agents with the United States Bureau
  of Alcohol, Tobacco, Firearms, and Explosives (ATFE)
  confirmed a meeting with defendants Eliu RIVERA-MENDEZ
  and GUADALUPE SALAZAR-TOVAR at their request to
  purchase machine guns and fragmentation grenades.
  Defendants traveled in SALAZAR's truck, with SALAZAR
  driving, to have a face-to-face meeting with the
  undercover agents who were posing as the weapons
  sellers.    Defendant RIVERA exited the truck and
  entered the agents' car. SALAZAR remained in the
  truck. In the agents' car, RIVERA viewed and handled a
  fully automatic AR-type rifle in the presence of an
  UA, who confirmed to RIVERA that it was a fully
  automatic weapon, and also demonstrated to RIVERA how
  to manipulate the selector switch to full automatic.
  The defendant handled the weapon, and manipulated the
  selector switch. Defendant RIVERA was also shown a
  hand grenade for his inspection. After approving both
  weapons, RIVERA told UA that he had the $10,400 cash
  for the purchase. RIVERA returned to the truck where
  SALAZAR had remained, and then followed the UA's
  vehicle to a meeting place to conduct the actual
  weapons transaction.

       At the meeting, the defendants delivered $10,400
  cash to the agent for the eight (8) machine guns and
  twenty   (20)  M-67  hand grenades Unknown     to  the
  defendants, only four (4) of the delivered rifles were
  fully automatic and fully functioning machine guns.
  The other four (4) assault rifles were semi-automatic.
  Additionally, and unknown to the defendants, the hand
  grenades which were actually delivered were "prop"
  (non-functioning) devices.   The defendants believed,
  nevertheless, that all eight (8) rifles were fully
  automatic and that the twenty (20) hand grenades were
  fully-functioning destructive devices. At the time of
  purchase, the automatic weapons and the hand grenades
  were again displayed and handled by both defendants.
  During the purchase, the defendants stated that the
Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 5 of 16



  weapons were not for them but destined for Mexico,
  specifically to Nuevo Laredo. After taking physical
  possession of the weapons, Defendants were arrested
  after attempting to flee.

       After   rights   advisement   and   waiver,   both
  Defendants admitted that they purchased the four (4)
  machine guns, the four (4)semi-automatic assault
  weapons believing them to be fully automatic machine
  guns, and the prop hand grenades, believing them also
  to be fully functioning hand grenades, with the intent
  of transporting them into Mexico. SALAZAR stated that
  a Mexican truck driver was going to smuggle the
  weapons into Mexico after receiving them from the
  Defendants, and would pay $200 to each defendant.
  RIVERA admitted that he expected to be paid about $500
  for helping in the transaction, and that he knew that
  the weapons were going to be smuggled into Mexico.

  One of the fully automatic machine guns is identified
  as a Bushmaster .223 caliber, Model XM15-E2S, machine
  gun, with the serial number BFI424708. Defendants
  RIVERA and SALAZAR admitted to paying the UC agents
  the $10,400 cash for the weapons. They also admitted
  that they were nationals and citizens of Mexico
  without permission or authority to be or enter the
  United States.

       An inventory of SALAZAR's truck resulted in the
  discovery of defendant's personal insurance paperwork
  from Pronto Insurance Agency with hand-written notes
  on the purchase on the reverse:

       "20 pinas - 4000" which is translated as "20
  grenades for $4,000".
       "8 juetes - 6400 ... 10400" which is translated
  as "8 machine gunsfor $6,400 total $10,400".

       The defendant judicially confesses and admits
  that on December 7, 2010, he did fraudulently and
  knowingly attempt to export and send from the United
  States to the Republic of Mexico twenty (20) hand
  grenades (military designation M-67), contrary to the
  laws and regulations of the United States, to wit, the
  Arms Export Control Act, Export of Arms and Munitions,
  and did purchase said M-67 hand grenades prior to
  exportation, knowing the same to be intended for
   Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 6 of 16



     exportation contrary to the laws and regulations of
     the United States.

(D.E. 51, p. 7-11 ). Salazar-Tovar acknowledged that these facts

were true by signing the plea agreement. (D.E. 51, p. 14).

     2. Plea Agreement and Rearraignment

In addition to the factual basis Salazar-Tovar agreed to, in the

Plea Agreement, inter alia, he expressly waived his right to

collaterally attack his conviction or sentence in a 2255 motion,

as follows:

          8. Defendant is aware that Title 18 U.S.C. § 3742
     affords a defendant the right to appeal the sentence
     imposed. The defendant agrees to waive the right to
     appeal the sentence imposed or the manner in which it
     was determined. Additionally, the Defendant is aware
     that Title 28 U.S.C. § 2255, affords the right to
     contest or “collaterally attack” a conviction or
     sentence after the conviction or sentence has become
     final. Defendant waives the right to contest his/her
     conviction or sentence by means of any post-conviction
     proceeding.

(D.E. 51, p. 4). Salazar-Tovar signed the Plea Agreement, as
well as the “Plea Agreement Addendum,” which stated:

     I have consulted with my attorney and fully understand
     my rights with respect to the Superseding Indictment
     pending against me. My attorney has fully explained
     and I understand all my rights with respect to the
     provisions    of   the    United   States    Sentencing
     Commission’s Guidelines Manual which may apply in my
     case. I have read and carefully reviewed every part of
     this plea agreement with my attorney. I understand
     this agreement and I voluntarily agree to its terms.

(D.E. 52, p.2).

     At    the   rearraignment      hearing,   Salazar-Tovar      executed    a

waiver    of   the   right   to   plead   guilty   before   a   United   States
      Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 7 of 16



District Judge as well as a consent to proceed before a United

States     Magistrate        Judge.       (D.E.    49,    p.     1).         In   open    court,

Salazar-Tovar         agreed    to     plead      guilty       to    count        five    of   the

Superseding Indictment, the Government summarized the written

plea agreement, the Court explained that the district court may

consult the sentencing guidelines in determining his sentence

and     explained      the     range       of     punishment.          (D.E.       57).        The

Magistrate       Judge   found       that       Salazar-Tovar          who    had     consented

orally     and   in    writing       to    enter    the    guilty        plea       before     the

Magistrate Judge, “fully understands the nature of the charges

and     penalties,”       and        “understands          his       Constitutional            and

statutory rights and wishes to waive those rights.” (D.E. 57, p.

2).       The Magistrate also found that Salazar-Tovar’s plea “is

made freely and voluntarily,” and that he “is competent to enter

this plea of guilty,” and that “there is an adequate factual

basis for this plea.” (D.E. 57, p. 2).                              The Magistrate Judge

recommended that the district court accept the guilty plea and

enter final judgment of guilt against the

defendant. Id. In his Report and Recommendation to the district

court, the Magistrate Judge noted that “the parties may file

objections       to   this     Report       and    Recommendation            .    .   .   within

fourteen days after being served with a copy of the Report and

Recommendation. (D.E. 57, p. 2).                   Salazar-Tovar did not file any

objections.
   Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 8 of 16



       In    addition        to     the    Magistrate          Judge’s       Report     and

Recommendations,        the       transcript      of    the   hearing     reveals     that

Salazar-Tovar acknowledged in open court that he understood the

charges against him and pleaded guilty. (D.E. 93, p. 7).                                 He

also    acknowledged         that    the    signature         on    the   written     Plea

Agreement was his, that he had reviewed the document with his

attorney     before     he     signed      it,    and     swore      under     oath   that

everything in the written plea agreement was true and correct.

(D.E. 93, p. 7).              He testified that he understood that the

maximum penalty for the charge in count five is not more than 10

years   in   prison.     (D.E.       93,    p.    10).        He   testified     that    he

understood that as he is a native and citizen of another country

(Mexico), when he is finished serving his sentence he will be

formally     deported,        excluded,      or    removed         back   to   his    home

country. (D.E. 93, p. 11).                 The Magistrate Judge reviewed the

agreements in the Plea Agreement, including that Salazar-Tovar

agrees to give up his right to appeal and his right to come back

later and complain about his detention, sentence, or conviction

-“known as a post-conviction collateral attack.”                          The defendant

acknowledged     that     that       is    what    he    agreed      to   in    the   plea

agreement, that is, that “[He] won’t be able to come back and

complain about the sentence. [He] cannot complain about this

case. That is part of [his] agreement.” (D.E. 93, p. 13 – 14).

He also testified that nobody made any other promises to him
     Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 9 of 16



other than those in the plea agreement. (D.E. 93, p. 17).                                   He

testified that he understood that he was giving up his right s

to   a    trial.       (D.E.    93,     p.    19).    After      the    Magistrate       Judge

reviewed       again     the    consequences         of   a    guilty     plea,       and   the

written plea agreement, including specifically the waiver of the

right to appeal, the defendant testified that he still wanted to

enter     a    plea     of     guilty    to    count      five    in     the     Superseding

Indictment. (D.E., p. 20). After the prosecutor read the factual

basis     in     the   plea     agreement,         Salazar-Tovar        said     he   had   no

corrections to what the prosecutor said. (D.E., p. 20).                                     The

Magistrate        Judge      accepted        the     defendant’s        guilty    plea      and

advised that he would report and recommend to Judge Kazen that

he find the defendant guilty and that the defendant be sentenced

accordingly. The defendant said that he had no questions. (D.E.,

p. 28).

         3. The Sentence.

         Prior    to    sentencing,          the     probation     office        prepared     a

presentence        report       (“PSR”),       which      calculated       the     Guideline

imprisonment range based on a total offense level of 23 and a

criminal history category of I to be 46 to 57 months, and the

statutory maximum term of imprisonment to be 10 years, pursuant

to 18 USC § 544. (PSR ¶¶ 75, 76).

         At    sentencing,       the     undersigned          sitting     by     designation

sentenced Salazar-Tovar to 46 months in prison and dismissed the
  Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 10 of 16



remaining    four    counts   in     the    Superseding    Indictment         on   the

government’s motion. (D.E. 94, p. 11).                Salazar-Tovar’s counsel

stated that he and Salazar-Tovar were “tendering our Notice of

Non-Appeal at this time, even though he did waive it.” (D.E. 94,

p. 12).

                                            III.

                                           ISSUES

       I. Primary Issue pertaining to the Plea Agreement Waiver.

     Whether Salazar-Tovar is barred from bringing any of his
claims as a result of his waiver of the right to contest his
conviction or sentence by means of any post-judgment proceeding?

       II. Supplemental Issue Raised by Salazar-Tovar.

     Salazar-Tovar alleges that counsel was constitutionally
ineffective because he failed to “let the court know that
[Salazar-Tovar] was well over qualify [sic] to received a
downward departure to the fast-track early disposition program”
or argue that Salazar-Tovar’s sentence should reflect the
disparity that is created between fast-track and non-fast-track
districts.


                                       IV.

                Specific Enforce Of The Plea Agreement

       The   government     seeks    specific       enforcement       of   the     plea

agreement it reached with Salazar-Tovar.               Salazar-Tovar’s motion

asserts an ineffective assistance of counsel claim.                        A liberal

reading of Salazar-Tovar’s § 2255 motion discloses that Salazar-

Tovar’s allegation regarding his sentence and dissatisfaction

with   counsel,     falls   within    the    scope    of   his    §    2255   waiver
     Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 11 of 16



because,      on     its   face   it   is    not   a   direct      challenge    to    the

voluntariness of his plea and, therefore, the waiver. See United

States v. White, 307 F.3d 336, 343–44 (5th Cir. 2002).                          On the

other hand, an ineffective assistance claim survives a § 2255

waiver only when the claimed [ineffective] assistance directly

affected the validity of that waiver or the plea itself. Id.                           In

this case, Salazar-Tovar’s claimed ineffective assistance ground

does not directly affect the validity of the waiver or the plea.

Thus, the government requests specific performance of the plea

agreement. Salazar-Tovar voluntarily waived his right to bring

this       instant     action     in   his      plea    agreement       and    at     his

rearraignment.         Salazar-Tovar         entered   into     a    plea     agreement

where, in exchange for the government’s promise to not oppose

the 2 acceptance of responsibility points and to move for the

third point consistent with the requirements of USSG §3E1.1(b),

he agreed to a broad and unequivocal waiver of collateral relief

as quoted above.

          During    Salazar-Tovar’s         rearraignment     he    testified       under

oath that he understood the rights he was giving up by pleading

guilty, including the consequences of the waiver of appellate

rights and his right to “appeal” his conviction and sentence

under the provision of 28 U.S.C. § 2255.

          Salazar-Tovar’s sworn statements in open Court are entitled

to    a    strong     presumption      of    truthfulness.         United   States     v.
  Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 12 of 16



Lampaziane, 251 F.3d 519, 524 (5th Cir. 2001)(citing Blackledge

v. Allison, 431 U.S. 63, 74 (1977)).                          The Fifth Circuit gives

“great       weight     to    the     defendant’s           statements          at     the   plea

colloquy.” United States v. Cothran, 302 F.3d 279, 283-84 (5th

Cir.   2002).          Salazar-Tovar’s              sworn    statements         preclude     the

relief he seeks in this proceeding.

       Salazar-Tovar knew the potential punishment he faced. He

also stated that his plea was knowing and voluntary.                                    Salazar-

Tovar testimony was abundantly clear that his decision to plead

guilty   was     voluntary          and    that       he    understood          the    potential

punishment.

       Under the terms of the plea agreement, Salazar-Tovar shall

be held to the bargain to which he agreed. He knowingly and

voluntarily          waived   his      right         to     file     a    §     2255     motion.

Accordingly,          Salazar-Tovar’s           §    2255     motion          fails,    in    its

entirety, because he specifically waived the right to file such

a motion.

       The record supports the conclusion that:

       (1)     the     plea    agreement            and     waiver       were    knowing      and

voluntary;

       (2)     the     waiver       provision         in     the     plea       agreement      is

enforceable      and     supports         the   government’s         motion       for    summary

judgment; and,
  Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 13 of 16



       (3)    the    waiver       and   the    record       in    this     case    preclude

Salazar-Tovar        from      asserting      the     ineffective          assistance    of

counsel claim in his current motion.

                                              V.

                          ALTERNATIVE MOTION TO DISMISS

       Alternatively, the government urges dismissal of the § 2255

motion with prejudice as the record shows Salazar-Tovar is not

entitled to relief.

       An ineffective assistance of counsel allegation in a § 2255

motion is analyzed under the two-prong analysis set forth in

Strickland v. Washington, 466 U.S. 668(1984). United States v.

Willis, 273 F.3d 592, 598 (5th Cir. 2001). To prevail on a claim

of ineffective assistance of counsel, a movant must demonstrate

that    his     counsel’s           performance       was        both      deficient     and

prejudicial.        Id.    This     means     that    a     movant      must    show    that

counsel’s performance was outside the broad range of what is

considered      reasonable          assistance        and    that        this     deficient

performance     led       to   an    unfair    and    unreliable         conviction     and

sentence. United States v. Dovalina, 262 F.3d 472, 474-75 (5th

Cir. 2001).         If the movant fails to prove one prong, it is not

necessary to analyze the other one. Armstead v. Scott, 37 F.3d

202,   210    (5th    Cir.      1994)    (“A       court    need     not    address     both

components of the inquiry if the defendant makes an insufficient

showing on one.”); see also Carter v. Johnson, 131 F.3d 452, 463
     Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 14 of 16



(5th Cir. 1997) (“Failure to prove either deficient performance

or     actual       prejudice       is       fatal      to       an    ineffective       assistance

claim.”).

        A claim of ineffective assistance of counsel is properly

made     in     a     §    2255    motion         because         it    raises     an    issue     of

constitutional             magnitude     and,        as      a    general    rule,       cannot   be

resolved on direct appeal. United States v. Bass, 310 F.3d 321,

325 (5th Cir. 2002) (citing United States v. Pierce, 959 F.2d

1297, 1301 (5th Cir. 1992)). As Strickland cautions, scrutiny of

counsel's performance must be highly deferential, lest it suffer

“the     distorting          effects         of    hindsight.”            466     U.S.    at     689.

Thecourt        must       “indulge      a    strong         presumption         that    counsel's

conduct falls within the wide range of reasonable professional

assistance” and that a challenged action “ ‘might be considered

sound trial strategy.’ ” Id.

        “Fast       track”      programs       allow      certain        defendants       to   plead

guilty and to waive certain rights very early in the criminal

process, in exchange for a motion by the government for downward

departure pursuant to U.S.S.G. § 5K3.1.2 authorizes a reduction

for     fast-track          programs,         initially           established       in    district

courts        along       the     southwestern            United        States     in    order    to

accommodate          the    large     number       of     immigration           cases,    to   offer

defendants some form of sentence reduction in exchange for the
  Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 15 of 16



waiver    of     certain       procedural       rights.           See     United     States    v.

Rodriguez, 523 F.3d 519, 526-27 (5th Cir. 2008).

       Salazar-Tovar          acknowledges          that        “immigration        defendants”

and    “immigration         offenses”     as    being        the    focus     of    fast-track

benefits.       However, he is not an “immigration defendant” who was

convicted of an ”immigration offense.”                             Salazar-Tovar has not

shown that his counsel was deficient in arguing for fast-track

consideration in his case which involved attempting to smuggle

machine guns and grenades from the United States into Mexico.

United States v. Kimler,167 F.3d 889, 893 (5th Cir. 1999) (“An

attorney’s failure to raise a meritless argument ... cannot form

the    basis    of     a    successful     ineffective             assistance       of    counsel

claim because the result of the proceeding would not have been

different had the attorney raised the issue.”).

       Likewise,           Salazar-Tovar’s               claims      that      counsel        was

constitutionally            ineffective        by        failing     to     argue    that     the

district       court       should    exercise        its        discretion     to    impose     a

sentence that would minimize the sentencing disparity created by

fast track programs in some sentencing jurisdictions but not

others, a district court is not required “to factor in, when

sentencing a defendant, the sentencing disparity caused by early

disposition          programs       to    prevent           a      sentence        from     being

unreasonable.” United States v. Aguirre-Villa, 460 F.3d 681, 683

(5th    Cir.2006).           It     is   hard       to    argue     sentencing        disparity
  Case 5:11-cr-00011 Document 102 Filed on 08/10/12 in TXSD Page 16 of 16



between districts with a fast track program and those without

one where the defendant, like Salazar-Tovar, was not eligible

for fast track consideration because he was not convicted of an

immigration    offense.     Again,     counsel’s    performance     was   not

constitutionally    deficient    for   failing     to   raise   a   meritless

claim. See Sones v. Hargett, 61 F.3d 410, 415 n. 5 (5th Cir.

1995).

                                   VII.

                                CONCLUSION

     Accordingly, the government’s motion for summary judgment

or, in the alternative, to dismiss shall be, and the same hereby

is, GRANTED.

     The defendant’s motion to vacate sentence under 28 U.S.C. §

2255 shall be, and the same hereby is, DENIED with prejudice.

     No certificate of appealability shall issue as reasonable

jurists would not differ on the outcome of this case.

     This the 10th day of August, 2012.
